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AO 91 (Rev. 11/11) Criminal Complaint

 

 

 

 

 

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UNITED STATES DISTRICT COURT ren
for the oo
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Southern District of Texas 2017
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United States of America ) MO Ot ee
Vv. ) . .
Walter BANDA )  CaseNo, DWN my A5%
Ivan ARROYO
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of February 28, 2017 in the county of Brooks in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
21 U.S.C. § 846 Conspiracy to knowingly, intentionally, and unlawfully possess with intent to

distribute a controlled substance in Schedule II of the Controlled Substance
Act of 1970, to wit; 7.7 kilograms of methamphetamine, approximate gross
weight.

This criminal complaint is based on these facts:

See Attachment A

@ Continued on the attached sheet.

 

Vp —
Complainant's signature

Stacey Slater, Special Agent

 

Printed name and title

Sworn to before me and signed in my presence.

  

Judge's signature

  
    

B. Janice Ellington

City and state: Corpus Christi, Texas
Printed name and title ‘(_/
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BANDA, Walter
ARROYO, Ivan
ATTACHMENT “A”

On February 28, 2017, Border Patrol Agent (BPA) David Gonzalez was working the primary
inspection lane at the Falfurrias, Texas Border Patrol Checkpoint located thirteen miles south of
Falfurrias, Texas on U.S. Highway 281. Also working alongside BPA Gonzalez on primary was
BPA Eli Bratton and his service canine Jeff. At approximately 7:00 p.m., a black Ford F-150,
bearing Oklahoma license plate 369 MJH, approached BPA Gonzalez’s position on the primary
inspection lane.

Once the truck came to a complete stop, BPA Gonzalez asked the driver, later identified as Ivan
ARROYO, if he was a U.S. Citizen. ARROYO stated he was a U.S. citizen. BPA Gonzalez
asked ARROYO where they were heading and ARROYO stated he was heading back to Austin.
BPA Gonzalez asked ARROYO who the owner of the vehicle was. ARROYO pointed to the
front seat passenger (later identified as Walter Rafael BANDA) and stated that it belongs to his
aunt. BANDA stated that he borrowed his aunt's truck to come to the valley. BPA Gonzalez
asked both of them what their purpose of coming to the valley was. BANDA stated that they
came to the valley to go to the strips clubs to party. BPA Gonzalez asked them how long they
were in the valley. BANDA stated they were in the valley for two days. BPA Gonzalez noticed
ARROYO's posture was stiff and forward looking. BPA Gonzales noticed BANDA took over
the conversation by answering most of my questions. While BPA Gonzalez was conducting his
immigration inspection, BPA Bratton was conducting a non-intrusive free air sniff, with his
service issued canine Jeff, on the exterior of the truck. BPA Bratton advised BPA Gonzalez that
Jeff was alerting to the truck and that BPA Gonzalez should refer it to the secondary area of
inspection.

Due to the fact that BPA Bratton advised BPA Gonzalez that Jeff was alerting, BPA Gonzalez
instructed ARROYO to the secondary area of inspection. ARROYO agreed and proceeded to
park in the inspection lane.

Once at the secondary area of inspection, all passengers were asked to exit the truck and sit in the
designated secondary area benches. Once in the secondary area, BPA Bratton conducted a
systematic search of the truck. Moments later, Border Patrol Agents discovered bundles inside
the rear portion of the front seats and under the back seat in a factory compartment of the
vehicle.

Border Patrol Agents removed a total of 10 bundles from the vehicle. One of the bundles was cut
and a crystal clear substance was discovered which tested positive for methamphetamine.

MIRANDA RIGHTS / DRIVER: Ivan ARROYO
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ARROYO was read his Miranda Rights by BPA Eliodoro Coy. ARROYO signed the form
indicating he understood his rights and stated that he was willing to make a statement at that time
without a lawyer present. ARROYO stated that they drove from Austin to the valley two days
ago. ARROYO stated that they drove to the valley to party at a strip club and stayed at a motel
for the night. ARROYO stated BANDA left in the truck today (02/28/2017) during the day and
came back moments later. ARROYO stated that moments later they drove north back home.
ARROYO stated he had no knowledge of any narcotics hidden in the truck.

MIRANDA RIGHTS / Passenger: Walter BANDA

BANDA was read his Miranda Rights by BPA Coy. BANDA signed the form indicating he
understood his rights and stated that he was willing to make a statement at that time without a
lawyer present. BANDA stated they drove from Austin, Texas to the valley two days ago.
BANDA stated that they partied at a strip club their first night and spent the night at a motel at an
unknown city located in the valley. BANDA stated he left to a candy store today (02/28/2017)
without ARROYO. BANDA stated after purchasing candies he then returned to the motel.
BANDA stated that moments later they drove north back towards Austin. BANDA stated that he
did not know who or when the drugs were placed in the truck. However, BANDA stated that he
had knowledge that drugs were going to be concealed inside the front seats and under the back
seat of the truck. BANDA stated ARROYO had knowledge of the drugs being smuggled.

 

SA Stacey Slater and TFA Nieves arrived at the Falfurrias, Texas Border Patrol Checkpoint and
spoke to BANDA and ARROYO. SA Slater issued BANDA and ARROYO their Miranda
Rights. Both BANDA and ARROYO waived their rights and made a statement. BANDA and
ARROYO stated they had knowledge that they were transporting drugs in the truck.

Assistant United States Attorney Hugo Martinez accepted the federal prosecution of Walter
BANDA and Ivan ARROYO.

The amount of methamphetamine, 7.7 kilograms, approximate gross weight; infers the intent to
distribute.

 
